                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


ELIZABETH RAMIREZ,

               Plaintiff,

v.                                                                    Case No.

BRUNSWICK CORPORATION
D/B/A MERCURY MARINE,

               Defendant.                                             JURY TRIAL DEMANDED


                                          COMPLAINT


       Plaintiff Elizabeth Ramirez, by and through her counsel, William Wetzel, Mary C.

Flanner, and Cross Law Firm, S.C., complains and states as follow against Defendant Brunswick

Corporation d/b/a Mercury Marine.


                                     NATURE OF ACTION


       1.      Plaintiff brings action against Brunswick Corporation d/b/a Mercury Marine

(“Mercury Marine”) alleging violations of the Family and Medical Leave Act of 1993

(“FMLA”), as amended, 29 U.S.C. §§ 2601 et seq., to provide appropriate relief to Plaintiff who

was terminated from her job in retaliation for exercising her rights under the FMLA. Plaintiff

seeks back pay, reinstatement or front pay in lieu of reinstatement, liquidated damages,

attorneys’ fees and costs, and any other relief to which she is entitled by law.




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                                        JURISDICTION

       2.      This Court has jurisdiction of the federal claim and the parties pursuant to 28

U.S.C. § 1331. This action is authorized and arises under federal law pursuant to 29 U.S.C.

§ 2617, applying to the FMLA.

       3.      Venue is appropriate within the United States District Court State of Wisconsin,

Eastern District Milwaukee Division, pursuant to 28 U.S.C. § 1391(b)(1) as all parties reside or

exist in the Eastern District of the State of Wisconsin, and the events and omissions giving rise to

this claim occurred in that District.

                                            PARTIES

       4.      Plaintiff, Elizabeth Ramirez (“Ramirez” or “Plaintiff”) is a citizen of the State of

Wisconsin residing in the City of Fond du Lac, Fond du Lac County, WI. At all times relevant to

this complaint, Plaintiff was a resident of the City of Fond du Lac, Fond du Lac County, WI. At

all times relevant hereto, Plaintiff was an eligible employee as the term is defined under the

FMLA.

       5.      Defendant Brunswick Corporation d/b/a Mercury Marine, is a foreign corporation

authorized to and doing business in the State of Wisconsin. Defendant does business in the City

of Fond du Lac, Fond du Lac County, WI. Its registered agent for service of process is CT

Corporation System located at 301 S. Bedford St. Suite 1, Madison, WI 53703.

       6.      Defendant is an “employer” within the meaning of the FMLA, 29 U.S.C.

§ 2611(4) which has employees subject to the provisions of the FMLA at its Fond du Lac

location where Plaintiff was employed. Specifically, at the relevant time Defendant employed

more than 50 employees at its Fond du Lac location.




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                                              FACTS


        7.      Plaintiff began full time work with Defendant in March of 2011, at its Fond du

Lac location and remained employed there until her employment was terminated on February 14,

2019.

        8.      At all times relevant to this complaint, Defendant employed over fifty employees

within a seventy-five mile radius of its Fond du Lac location where it employed Plaintiff.

        9.      At all times relevant to this complaint, and on or around March 2012, Plaintiff

was an eligible employee as that term is defined by § 101(2) of the FMLA, 29 U.S.C. § 2612.

        10.     Plaintiff was employed in several roles, including Return Goods Specialist,

Support Technician I, Support Technician II, and Support Technician III.

        11.     Plaintiff suffers from a “serious health condition” under the FMLA, chronic

asthma, which at times interferes with her ability to work. Plaintiff routinely treats with a

pulmonologist for this condition.

        12.     In 2016, Plaintiff requested intermittent FMLA leave because her persistent

chronic asthma at times caused her to be unable to perform the functions of her employment, and

Defendant granted her request. Mercury Marine accepted recertification of Plaintiff’s FMLA

leave the following year and each subsequent year until 2019. Plaintiff utilized intermittent

FMLA leave as needed.

        13.     Plaintiff provided Defendant with the proper documentation and notice when she

used FMLA.

        14.     Defendant’s Human Resource Director, Jo Bloom, often displayed resistance

towards Plaintiff for using her FMLA leave and her conduct was intended to discourage Plaintiff




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from using FMLA leave. Ms. Bloom repeatedly expressed skepticism to Plaintiff regarding the

seriousness of Plaintiff’s condition and necessity for FMLA leave.

       15.     During Ms. Ramirez’s employment, Defendant’s attendance policy revolved

around a points system for certain absences not including FMLA absences.

       16.     On February 13, 2019, Plaintiff became sick rendering her unable to work. Upon

her return to work the next day, Plaintiff asked Supervisor, Mr. Al Neubauer, if she could use an

accrued vacation day to cover her absence the previous day, a common practice at Mercury

Marine. Mr. Neubauer replied “We will see” and sent Plaintiff to Ms. Bloom’s office to discuss

her absence.

       17.     Plaintiff explained to Ms. Bloom that she had been too sick to go into a clinic and

did not have the technological resources at home to have a telemedicine appointment with a

provider who could have provided her with a doctor’s excuse.

       18.     Ms. Bloom refused to accept Plaintiff’s excuse or to permit her to use a vacation

day, and instead handed her termination papers. She taunted Plaintiff, exclaiming “Let’s see you

wiggle your way out of this one!” and “This is for all those afternoons you took off without a

valid reason.” These comments by Ms. Bloom show an intentional and reckless disregard for

Plaintiff’s coverage and prior excused absences under the FMLA.

       19.     Before she could explain her absence or respond to Ms. Bloom’s accusations, Ms.

Ramirez was escorted off the property and her employment with Defendant was terminated.

       20.     The attendance report used to justify Plaintiff’s termination includes several

absences that were FMLA excused.

       21.     Defendant violated the FMLA when it terminated Plaintiff in retaliation for her

use of FMLA leave.



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          22.     As a direct proximate cause of Defendant’s termination of Plaintiff, in violation of

the FMLA, Plaintiff has suffered economic loss, including loss of wages and benefits.

          23.     This action is timely filed.


   COUNT I – RETALIATION AGAINST PLAINTIFF FOR TAKING FMLA LEAVE


          24.     Plaintiff incorporates paragraphs 1-25 as though fully set forth herein.

          25.     Defendant terminated Plaintiff effective February 14, 2019, because she exercised

her rights under the FMLA.

          26.     Defendant’s rationale for terminating Plaintiff is pretext in order to disguise

FMLA retaliation.

          27.     But for having taken FMLA leave and exercising her FMLA rights and because

Defendant anticipated Plaintiff’s future use of FMLA, Plaintiff would not have been terminated.

          28.     As a direct and proximate result of Defendant’s unlawful acts, Plaintiff has

suffered and continues to suffer loss of employment, loss of income, loss of other employee

benefits, and has had to retain an attorney to litigate this matter.

                                       PRAYER FOR RELIEF

          WHEREFORE, it is respectfully prayed that this Court grant to Plaintiff the following

relief:

          (a)     Grant Plaintiff judgment in her favor.

          (b)     Order the Defendant to make Plaintiff whole by providing back-pay with

prejudgment interest, in amounts to be determined at trial, and other affirmative relief necessary

to eradicate the effects of its unlawful employment practices.




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          (c)     Order the Defendant to make Plaintiff whole by providing compensation for past

and future pecuniary losses including out of pocket costs resulting from the unlawful

employment practices described above, in amounts to be determined at trial.

          (d)     Order the Defendant to reinstate Plaintiff to her prior position and seniority level,

or, in the alternative, award Plaintiff front pay.

          (e)     Order Defendant to pay Plaintiff her reasonable attorney’s fees and costs incurred

as a result of bringing this action.

          (f)     Order the Defendant to pay Plaintiff liquidated damages in an additional amount

equal to the sum of the actual damages and interest pursuant to 29 U.S.C. § 2617(a)(1)(A).

          (g)     Enjoin and permanently restrain Defendant from violating the FMLA.

          (h)     Grant Plaintiff any further and additional relief as the Court deems just and

proper.

                                       JURY TRIAL DEMANDED

          Plaintiff hereby requests trial by jury of all issues triable under federal law.




Respectfully submitted and dated this 9th day of February 2021.

                                                          Cross Law Firm, S.C.
                                                          Attorney for Plaintiff, Elizabeth Ramirez


                                                          By: /s/ William Wetzel
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